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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

   UNITED STATES OF AMERICA

   -vs-                                                           Case No. 6:10-cr-137-Orl-28GJK

   ANTONIO JONES,
   ___________________________________

                                  REPORT AND RECOMMENDATION

   TO THE UNITED STATES DISTRICT COURT

             This cause came on for consideration without oral argument on the following motion filed

   herein:

                MOTION:       MOTION TO COMPEL GOVERNMENT TO FILE A
                              RULE 35(b) MOTION (Doc. No.140)

                FILED:      September 21, 2010
                _____________________________________________________________

                THEREON it is RECOMMENDED that the motion be DENIED.

             On September 21, 2015, Antonio Jones (the “Defendant”) filed a Motion to Compel

   Government To File A Rule 35(b) Motion (the “Motion”) against the United States of America (the

   “Government”) requesting an order compelling the Government to file a Rule 35(b), Federal Rules

   of Criminal Procedure, motion which will seek a reduction in Defendant’s criminal sentence for

   having provided the Government with substantial assistance. Doc. No. 140.           In the Motion,

   Defendant states his plea agreement required him to provide substantial assistance to the Government

   and, if he did so, required the Government to file a motion under Rule 35(b) for a reduction in
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   Defendant’s sentence. Doc. No. 140 at 1-2. Defendant maintains that he provided unspecified

   substantial assistance, but the Government has failed to seek a reduction in his sentence because

   Defendant is an African-American. Doc. No. 140 at 2. Accordingly, Defendant requests that the

   Court order the Government to file a Rule 35(b) motion. Id.

          On September 30, 2015, the Government filed a Response in Opposition to the Motion (the

   “Response”). Doc. No. 145. In the Response, the Government maintains that the Defendant entered

   a guilty plea on March 24, 2011 (Doc. No.79), and, on August 4, 2011, the Government filed a motion

   to recognize Defendant’s substantial assistance and to reduce his sentence (Doc. Nos. 94-95). Doc.

   No. 145 at 1.    On August 10, 2011, the Court granted the Government’s motion to recognize

   Defendant’s substantial sentence. See Doc. Nos. 96-97. Thus, the Government implicitly argues that

   the Motion should be denied because the Government has already sought and Defendant has received

   a reduction in sentence based upon his plea agreement and substantial assistance. Doc. No. 145 at 1-4.

   The Government also contends that the district court does not have jurisdiction to review the

   Government’s decision not to file a Rule 35(b) motion absent clear error. Doc. No. 145 at 2.

          Having carefully considered the Motion and the Response, the undersigned finds that it should

   be denied for two primary reasons. First, the Motion should be denied because the Government has

   already sought and the Defendant has received a reduction in his sentence based upon the substantial

   assistance bargained for in the plea agreement. See Doc. Nos. 79, 94-97, 145. Defendant has not

   alleged any other specific additional substantial assistance that he has provided the Government. Doc.

   No. 140 at 1-3. Thus, Defendant has not demonstrated any factual basis for the relief requested.



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              Second, unless the Defendant makes a substantial showing that the Government had an

   unconstitutional or discriminatory motive for refusing to file the motion, the Court should not review

   the Government’s decision not file a motion for sentence reduction. See Wade v. United States, 504

   U.S. 181, 184-86 (1992). In Wade, 504 U.S. at 185-86, the United States Supreme Court held:

                         [W]e hold that federal district courts have authority to review a
                         prosecutor’s refusal to file a substantial-assistance motion and to grant
                         a remedy if they find that the refusal was based on an unconstitutional
                         motive. Thus, a defendant would be entitled to relief if a prosecutor
                         refused to file a substantial assistance motion, say, because of the
                         defendant’s race or religion. It follows that a claim that a defendant
                         merely provided substantial assistance will not entitle a defendant to a
                         remedy or even to discovery or an evidentiary hearing. Nor would
                         additional but generalized allegations of improper motive.


   Id. (emphasis added). In United States v. Gilmore, 149 F. App’x 883, 886-87 (11th Cir. 2005), the

   Eleventh Circuit held that “a district court may not review the government’s refusal to file a

   substantial assistance motion unless a defendant makes a substantial showing that the government was

   acting with an unconstitutional motive.” Id.1

              In this case, Defendant argues that the Goverment failed to file a motion to reduce Defendant’s

   sentence because Defendant is an African-American, which qualifies as an improper discriminatory

   motive. Doc. No. 140 at 2. However, Defendant has only made conclusory allegations of an improper

   discriminatory motive. Doc. No. 140 at 2. Thus, on this record, which includes the Government’s

   prior filing of a substantial assistance motion (see Doc. Nos. 94-95), the undersigned finds that the


              1
                  Unpublished decisions of the Eleventh Circuit are not binding, but are persuasive authority. See 11th Cir.
   R. 36-2.



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   Defendant has failed to make a substantial showing of a discriminatory or improper motive on the part

   of the Government. Based on the forgoing, the undersigned RECOMMENDS that the Motion (Doc.

   No. 140) be DENIED.

          A party failing to file written objection to a magistrate judge’s findings or recommendations

   within fourteen (14) days of issuance of the Report and Recommendation, waives the right to

   challenge on appeal the district court’s order based on unobjected-to factual and legal conclusions.

          Respectfully recommended in Orlando, Florida on October 5, 2015.




   Copies furnished to:

   Presiding District Judge
   Counsel of Record
   Unrepresented Parties
   Courtroom Deputy




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